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                                                                                                       May 20, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                 WAIVER OF RIGHT TO BE PRESENT
                               -v-                                               AT CRIMINAL PROCEEDING
Teeon Thorman,                                                                    S6 17 CR 118 (KPF)
                                           Defendant.
-----------------------------------------------------------------X


          I, Teeon Thorman, understand that I have a right to appear before a judge in a courtroom in the
          Southern District of New York at the time of my sentence and to speak directly in that courtroom
          to the judge who will sentence me. I am also aware that the public health emergency created by
          the COVID-19 pandemic has interfered with travel and restricted access to the federal courthouse.
          I do not wish to wait until the end of this emergency to be sentenced. I have discussed these
          issues with my attorney, Christopher Madiou, and willingly give up my right to be present, at the
          time my sentence is imposed, in the courtroom with my attorney and the judge who will impose
          that sentence. By signing this document, I wish to advise the Court that I willingly give up my right
          to appear in a courtroom in the Southern District of New York for my sentencing proceeding as
          well as my right to have my attorney next to me at the time of sentencing on the following
          conditions. I want my attorney to be able to participate in the proceeding and to be able to speak
          on my behalf at the proceeding. I also want the ability to speak privately with my attorney at any
          time during the proceeding if I wish to do so.


Date: 5/20/2020          Christopher Madiou_____                     ____________________________
                                                                     Signature of Defense Counsel on behalf of
                                                                     Defendant Teeon Thorman

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my client
contained in the indictment, my client’s rights to attend and participate in the criminal proceedings
encompassed by this waiver, and this waiver and consent form. I affirm that my client knowingly and
voluntarily consents to the proceedings being held with my client and me both participating remotely.


Date: 5/20/2020          Christopher Madiou_____                     _____________________________
                                                                     Signature of Defense Counsel




Accepted:            ________________________
                     Signature of Judge
                     Date: 6/9/2020
